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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 21-CR-20174-RUIZ



  UNITED STATES OF AMERICA

  vs.

  MIGUEL ANGEL DEL ROSARIO JIMENEZ,

               Defendant.
  _________________________________________________/

                                     FACTUAL PROFFER

         Had this case proceeded to trial, the United States would have proved the following facts,

  among others, beyond a reasonable doubt:

         On or about March 4, 2021, MIGUEL ANGEL DEL ROSARIO JIMENEZ (“DEL

  ROSARIO”) and RACHEL DE LA CARIDAD GARCIA HERNANDEZ (“GARCIA”) entered

  Miami International Airport, in Miami-Dade County, in the Southern District of Florida, with

  approximately $105,469 U.S. Dollars (“USD”) in their luggage and on their persons. DEL

  ROSARIO and GARCIA passed through airport security and approached their departure gate,

  expecting to board a Swift Air flight from Miami, Florida to Havana, Cuba. They did so without

  reporting to U.S. Customs and Border Protection (“CBP”) that they were carrying more than

  $10,000 USD, as required by currency reporting requirements under federal law.

         Once DEL ROSARIO and GARCIA were in the jet bridge, just before boarding their

  outbound flight, CBP officers stopped DEL ROSARIO for questioning. DEL ROSARIO stated

  that he was traveling with GARCIA, who is his wife.

         During the initial questioning in the jet bridge, CBP asked DEL ROSARIO and GARCIA

  how much money they were carrying on their persons and in their luggage and carry-ons.
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  GARCIA falsely stated that they were jointly carrying between approximately $8,000 USD and

  $8,500 USD, and DEL ROSARIO agreed with GARCIA’s estimation. CBP then presented DEL

  ROSARIO and GARCIA with a CBP Currency Reporting Flyer Form #0207-0909 (“Form 207”),

  written in their native Spanish language, issued pursuant to regulations promulgated by the

  Treasury Secretary, within the Executive Branch of the United States. The CBP Form 207

  explained the legal requirement that persons traveling either out of, or into, the United States must

  report any monetary instruments that they are carrying in excess of $10,000 USD. DEL ROSARIO

  signed the CBP Form 207 on behalf of himself and GARCIA, as they were traveling as a single

  family; and he certified that they were carrying “$8000” USD.

         CBP then asked DEL ROSARIO and GARCIA to take out all of the cash in their immediate

  possession, including on their persons, in their two personal bags (a backpack and a purse), and in

  their two carry-ons. DEL ROSARIO and GARCIA then took out and presented to CBP a total of

  approximately $5,104 USD. When CBP asked them to confirm that this was “all the cash” in their

  immediate possession, DEL ROSARIO and GARCIA both responded “yes.” CBP then obtained

  a binding declaration from DEL ROSARIO and GARCIA, confirming that they owned the two

  bags and two carry-ons in their possession, and that they packed their own bags and carry-ons.

         CBP then conducted an independent baggage inspection of DEL ROSARIO’s backpack

  and carry-on and GARCIA’s purse-bag and carry-on, where CBP found approximately $30,360

  USD more in cash, including bundles of cash concealed in clothing and inside other items in their

  bags. For example, inside DEL ROSARIO’s silver carry-on, CBP found additional bundles of

  cash inside a pair of boxer shorts. Next, CBP conducted its own baggage inspection of DEL

  ROSARIO’s and GARCIA’s two checked suitcases, which revealed approximately $60,005 USD


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  in additional cash, concealed inside clothing, adult diapers, and product-merchandise packaging.

  Finally, CBP’s pat-down inspection of GARCIA’s person revealed approximate $10,000 USD

  more in cash hidden inside her bra. In total, DEL ROSARIO and GARCIA were carrying

  approximately $105,400 USD in their luggage and on their persons, despite DEL ROSARIO’s

  signed certification on the CBP Form 207, stating that they were only carrying $8,000 USD.

         In a subsequent post-Miranda interview, GARCIA admitted that she and DEL ROSARIO

  had lied to CBP officers about the amount of cash that they were carrying.            GARCIA

  acknowledged that CBP had instructed her and DEL ROSARIO about the legal reporting

  requirement for travelers carrying more than $10,000 in USD in cash, and GARCIA admitted that

  she and DEL ROSARIO knew they were carrying far in excess of that amount of cash, and that

  they knowingly concealed it and chose not to report it CBP.




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            The parties agree that these facts, which do Mt include all facts known to the United States

     and the Defendant, are sufficient to prove Count I of the Indictment.



                                              JUAN ANTONIO GONZALEZ
                                              ACTING UNITED STATES ATTORNEY

                  6/ 24/2 021
            Date: ____                By:
                                              EDUARDO GARDEA, JR.
                                              ASS!STANT�-�ATTORNEY


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                                              MIGUEL  GEL DEL ROSARIO JIMENEZ
                                              DEFENDANT




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